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  7
    Attorneys for Plaintiff Krystal Reyes,
  8 as Guardian ad Litem for I.R., a minor
  9
                            UNITED STATES DISTRICT COURT
10
                           CENTRAL DISTRICT OF CALIFORNIA
11
   KRYSTAL REYES, as Guardian ad                   Case No. 2:19-cv-5209
12 Litem for I.R., a minor
13                 Plaintiff,                      PLAINTIFF’S OPPOSITION TO
                                                   DEFENDANTS’ EX PARTE
14          v.                                     APPLICATION TO EXTEND
                                                   TIME TO RESPOND TO
15 COUNTY OF LOS ANGELES, LOS                      PLAINTIFF’S COMPLAINT UNTIL
   ANGELES COUNTY PROBATION                        AUGUST 9, 2019; DECLARATION
16 DEPARTMENT, LOS ANGELES                         OF COUNSEL
   COUNTY CHIEF PROBATION
17 OFFICER TERI L. McDONALD,
   DEPUTY PROBATION OFFICER
18 PUENTE, DEPUTY PROBATION
   OFFICER STANCE, and DOES 1 TO
19 10,
20                 Defendants.
21
            Plaintiff Krystal Reyes, Guardian ad Litem for I.R., a minor, by and through
22
      counsel of record, Erin Darling, hereby opposes Defendants’ Ex Parte Application to
23
      Extend Time to Respond to Plaintiff’s Complaint. The grounds for Plaintiffs’
24
      opposition are stated in the attached memorandum and declaration of Erin Darling.
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26                                           Respectfully submitted,
27 DATED: July 13, 2019                  By: /s/ Erin Darling
28                                          ERIN DARLING

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  1                 MEMORANDUM OF POINTS & AUTHORITIES
  2 I.      INTRODUCTION
  3         Defendants sat on their hands for over two weeks after being served a copy of
  4 the complaint, and despite employing in-house counsel, did not provide the complaint
  5 to the lawyer tasked with drafting a responsive pleading until July 11, 2019, six days
  6 before an answer was due. With almost a week to file, defendants have chosen to spend
  7 time to file an ex parte application, rather than answer a well-pleaded complaint. The
  8 reason provided is that “Defendants’ counsel is currently working on other matters,”
  9 and “will not be able to carefully analyze the Complaint to determine the appropriate
10 response.” See Dkt. No. 17, at 2, Defendants’ Ex Parte Application. Defendants’
11 application does not establish how defendants would be irreparably harmed should
12 they have six days to respond to the complaint, nor does it establish that defendants
13 were without fault in creating the crisis that requires ex parte relief. Since the basic
14 standard for relief has not been met, defendants’ application should be denied and they
15 should file responsive pleading by July 17, three weeks after they were served.
16 II.      ARGUMENT
17          “What showing is necessary to justify ex parte relief? First, the evidence must
18 show that the moving party's cause will be irreparably prejudiced if the underlying
19 motion is heard according to regular noticed motion procedures. Second, it must be
20 established that the moving party is without fault in creating the crisis that requires ex
21 parte relief, or that the crisis occurred as a result of excusable neglect.” Mission Power
22 Eng’g Co. v. Cont’l Cas. Co., 883 F. Supp. 488, 492 (C.D. Cal. 1995) (emphasis added).
23 “To show that the moving party is without fault, or guilty only of excusable neglect,
24 requires more than a showing that the other party is the sole wrongdoer. It is the
25 creation of the crisis—the necessity for bypassing regular motion procedures—that
26 requires explanation.” Id. at 493.
27          Here, defense counsel suggests that plaintiffs have created a crisis by not
28 granting an extension. Odd. One, there is no crisis, six days is plenty of time to file

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  1 responsive pleadings. Two, the stated reason (“Defendants’ counsel is currently
  2 working on other matters” and “will not be able to carefully analyze the Complaint to
  3 determine the appropriate response”) does not establish that defendants were without
  4 fault in creating the crisis that requires ex parte relief. The opposite. Defendants created
  5 the crisis by not assigning an attorney for over two weeks, and when they did, they
  6 assigned an attorney too busy to “carefully analyze the Complaint.” Defendants’
  7 suggestion that plaintiffs’ counsel created the crisis by not granting an extension does
  8 not make sense: the need for a continuance was not created when plaintiff’s counsel
  9 refused to grant a continuance, the need for a continuance was created when
10 defendants waited over two weeks to assign a lawyer this case, and then assigned a
11 lawyer too busy to respond within six days. Moreover, plaintiff’s counsel was willing to
12 grant an extension to file an answer. See Dkt. 17-2 at 3 of 5, Exhibit A, Darling e-mail.
13 (“Plaintiffs are willing to extend time for defendants to file their answer to the
14 complaint. Plaintiffs are not willing to extend time for defendants to ‘respond’ (and
15 otherwise file a motion to dismiss.)”) In short, defendants have not made the proper
16 showing for ex parte relief.
17 III.     CONCLUSION
18          Plaintiffs have drafted a carefully pleaded complaint that should be answered. If
19 defendants disagree, they can file a motion to dismiss. But considering the standard for
20 ex parte relief has not been articulated, the Court should not reward dilatory tactics by
21 indulging the defendants with the requested extraordinary relief.
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                                              Respectfully submitted,
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26 DATED: July 13, 2019                    By /s/ Erin Darling
27                                           ERIN DARLING
                                             Attorney for Plaintiffs
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  1                             DECLARATION OF COUNSEL
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             I, Erin Darling, hereby declare as follows:
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      1.     I am an attorney permitted to practice in the Central District of California, and I
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      represent plaintiffs Krystal Reyes, as Guardian ad Litem for R.H., a minor, in the
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      above-entitled action.
  6
      2.     Defendants were served a copy of the summons and complaint in this action on
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      July 26, 2017, and have until July 17, 2019, to respond. See Dkt. No. 12-16.
  8
      3.     On July 11, 2019, I received an email from defense counsel requesting a
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      continuance. My response is included as Exhibit A to Defendants’ ex parte application.
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      See Dkt. 17-2, Exhibit A. I indeed informed Mr. Altura that “Plaintiffs are willing to
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      extend time for defendants to file their answer to the complaint. Plaintiffs are not
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      willing to extend time for defendants to ‘respond’ (and otherwise file a motion to
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      dismiss.)” It is my position that plaintiffs have filed a well-pleaded complaint, that there
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      is no basis for a response other than an answer, and that if defendants disagree, then six
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      days is adequate time to respond. Moreover, defendants have not met the applicable
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      standard, and cannot establish that they were without fault in needing more time, as no
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      one else but defendants can be blamed for waiting over two weeks to assign a lawyer to
18
      this case.
19                                             Respectfully submitted,
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22 DATED: July 13, 2019                     By /s/ Erin Darling
                                              ERIN DARLING
23                                            Attorney for Plaintiffs
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